510 U.S. 1107
    Colgate-Palmolive Co.v.Franchise Tax Board of California.
    No. 92-1839.
    Supreme Court of United States.
    February 22, 1994.
    
      1
      Appeal from the Ct. App. Cal., 3d App. Dist. [Certiorari granted, ante, p. 942.]
    
    
      2
      Motion of California Legislature for leave to file a brief as amicus curiae granted. Motion of the Solicitor General for leave to participate in oral argument as amicus curiae and for divided argument granted. Motion of Government of the United Kingdom for leave to participate in oral argument as amicus curiae, for divided argument, and for additional time for oral argument denied.
    
    